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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                           Case No. 2:23-cr-20191-MSN

EMMITT MARTIN, III, et al.,

      Defendants.
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                             ORDER OF RECUSAL
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       The undersigned Court recuses itself in this matter and respectfully returns the matter to

the Clerk for reassignment to another United States District Judge for all further proceedings.

       IT IS SO ORDERED, this 13th day of June, 2025.

                                                     s/ Mark S. Norris
                                                     MARK S. NORRIS
                                                     UNITED STATES DISTRICT JUDGE
